      Case: 5:22-cv-00231-DCR-MAS Doc #: 144-7 Filed: 03/12/24 Page: 1 of 1 - Page ID#:
                                            EXHIBIT 7
                                          1670




From: Ned Pillersdorf <pillersn@gmail.com>
Sent: Friday, September 29, 2023 12:25 PM
To: Johnson, Kristeena <Kristeena.Johnson@DINSMORE.COM>
Cc: Darrell Herald <dah41339@yahoo.com>
Subject: Message we received- Breathitt flood

Kaitlyn White called on behalf of her mother, Rose White, who has been called for deposition on
October 24th. Said her mom isn't able to answer questions/is probably incompetent. Her brother
has also been called but he's dead.
